Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 1 of 18




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. _______________


  SUCESORES DE DON CARLOS
  NUÑEZ Y DOÑA PURA GALVEZ,
  INC., d/b/a BANCO NUÑEZ,

          Plaintiff,
                                                                             JURY DEMAND
  vs.

  SOCIÉTÉ GÉNÉRALE, S.A., d/b/a
  SOCIÉTÉ GÉNÉRALE AMERICAS,

        Defendant.
  _________________________________/

                                               COMPLAINT

          Plaintiff Sucesores de Don Carlos Nuñez y Doña Pura Galves, Inc., d/b/a Banco Nuñez

  (“Plaintiff”), sues Société Générale, S.A., d/b/a Société Générale Americas (“SocGen”), for

  violations of the Cuban Liberty and Democratic Solidarity Act, 22 U.S.C. § 6021, et seq.

  (“Helms-Burton”), and states:

                                             INTRODUCTION

          1.      In 1961, the sole owners of Banco Nuñez,1 Carlos and Pura Nuñez (the

  “Founders”), fled Cuba to escape the extrajudicial killings, unjustified imprisonment, and cruelty

  that would come to embody Fidel Castro’s reign.

          2.      Before Castro came to power, Banco Nuñez was a flourishing enterprise. Between

  1921 and 1958, the Founders grew Banco Nuñez into a twenty-two branch banking operation


  1
   The entity as it existed in Cuba on December 31, 1958, is referred to as “Banco Nuñez.” The Floridian entity
  holding a claim associated with Banco Nuñez is referred to as “Plaintiff.”
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 2 of 18




  with a physical presence in five of Cuba’s six provinces. The Founders also owned the land on

  which Banco Nuñez built its branches, through an entity called Inmobiliaria Norka, S.A.

  (“Norka”).

          3.       As of December 31, 1958, Banco Nuñez was the second largest Cuban-owned

  bank on the island in terms of assets and equity.2 It controlled $105.1 million in assets, including

  $51.5 million in loans, and had equity of $7.8 million.3

          4.       In 1960, Castro’s Cuban Government began nationalizing every banking

  institution on the island and absorbing them into the state-controlled entity Banco Nacional de

  Cuba (“BNC"). First, on September 17, 1960, under the auspices of Law 851, the Cuban

  Government confiscated all United States-owned banking operations in Cuba, including:

  National City Bank, Chase Manhattan Bank, and First National Bank of Boston.4 All of those

  entities, including their physical branches, were subsumed into BNC.

          5.       On October 14, 1960, all Cuban-owned banks, including Banco Nuñez, were

  nationalized and absorbed into BNC in conformance with Law 891.5 For the next thirty-seven

  years, BNC was the island’s sole banking institution,6 and to this day, BNC and its subsidiaries

  maintain possession of Banco Nuñez’s physical branches.




  2
    See December 31, 1958, Esta Era la Banca de Cuba a la Llegada del Comunismo, attached hereto as Exhibit 1.
  3
    Id. From 1948 to 1958, the Cuban peso traded at par with the U.S. dollar. See Armando M. Lago and Jose Alonso,
  A First Approximation Model of Money, Prices and Exchange Rates in Revolutionary Cuba, Association for the
  Study of the Cuban Economy, available at: https://www.ascecuba.org/asce_proceedings/a-first-approximation-
  model-of-money-prices-and-exchange-rates-in-revolutionary-cuba/ (last visited May 1, 2019).
  4
    Raul Shelton, The Historical Development of the Cuban Banking System: Lessons for the Future, Association for
  the Study of the Cuban Economy, available at: https://www.ascecuba.org/asce_proceedings/the-historical-
  development-of-the-cuban-banking-system-lessons-for-the-future/ (last visited May 30, 2019).
  5
    Id.
  6
     Lorena Barberia, Remittances to Cuba: An Evaluation of Cuban and US Government Policy Measures, p. 21
  September 2002, available at: http://balseros.miami.edu/pdf/15_remittances.pdf (last visited May 30, 2019).

                                                         2
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 3 of 18




           6.       BNC, an alter ego of the Cuban Government,7 was forged with the confiscated

  assets of every then-existing banking institution on the island. On October 14, 1958, BNC had a

  “fair value” equivalent to the equity that BNC confiscated from the Cuban banking industry—

  approximately $74 million.8

           7.       $7.8 million, approximately ten-and-one-half percent, of BNC’s value as of

  October 14, 1958, was stolen from Banco Nuñez. The $7.8 million valuation of Banco Nuñez

  corresponds to the book value of its equity as of December 31, 1958.9

           8.       BNC should have paid the Founders the fair value of Banco Nuñez at the time of

  confiscation. BNC could have done so with cash, but it did not. In the absence of a cash transfer,

  or any other form of payment, BNC should have paid the Founders with BNC stock.

           9.       Because Plaintiff has never been paid for its loss, Plaintiff owns a claim to ten-

  and-one-half percent of the equity of BNC.10 To be clear, the “property”11 at issue in this matter

  is Plaintiff’s claim to ten-and-one-half percent of the equity of BNC.

           10.      SocGen is liable to Plaintiff for “trafficking”12 because it conducts commercial

  activities with BNC and derives profits therefrom.13



  7
     Helms-Burton defines the “Cuban Government” as “any political subdivision of Cuba, and any agency or
  instrumentality of the Government of Cuba.” 22 U.S.C. § 6023(5)(A). United States Courts recognize BNC as an
  alter ego of the Republic of Cuba. See Banco Nacional de Cuba v. First Nat. City Bank of New York, 478 F.3d 191,
  193 (2d Cir. 1973).
  8
    See Exhibit 1.
  9
    Id.
  10
     Banco Nuñez’s claim to the equity of BNC is analogous to the ownership structure of the National Bank of
  Belgium (“NBB”), which was established in 1850 using private capital alone. In 2019, fifty percent of NBB’s shares
  remain publicly held, with public shareholders entitled to dividends and voting rights. See National Bank of
  Belgium,       Market     Releases,     available    at:     https://www.nbb.be/en/about-national-bank/shareholder-
  information/market-releases-0 (last visited May 30, 2019).
  11
     “Property” means “any property (including patents, copyrights, trademarks, and any other form of intellectual
  property), whether real, personal, or mixed, and any present, future, or contingent right, security, or other interest
  therein.” 22 U.S.C. § 6023(12)(A).
  12
     An entity “traffics” in confiscated property if it knowingly and intentionally (i) sells, transfers, distributes,
  dispenses, brokers, manages, or otherwise disposes of confiscated property or purchases, leases, receives, possesses,
  obtains, control of, manages, uses, or otherwise acquires or holds an interest in confiscated property, (ii) engages in
  a commercial activity using or otherwise benefiting from confiscated property, or (iii) causes, directs, participates in,

                                                             3
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 4 of 18




           11.      In or around 2000, SocGen created a system of “credit facilities” to enable BNC

  to circumvent the United States’ economic embargo of Cuba. SocGen’s system involved

  concealing and processing BNC’s transactions with foreign corporations, and in exchange for

  this service, SocGen received over $1 billion in profit.

           12.      Through this “credit facility” system, SocGen “knowingly and willfully” violated

  the Trading with the Enemy Act (“TWEA”), 50 U.S.C. §§ 4303, 4305, and 4315(a), and the

  Cuban Assets Control Regulations (“CACR”), 31 C.F.R. §§ 515.201(a)(1), (c), and (d),

  promulgated under the TWEA.14 SocGen’s facilities “provided funding to a Cuban government

  bank,” BNC, “to Cuban government-controlled corporations, and to European corporations in

  connection with their Cuban business enterprises. The facilities included loans secured by Cuban

  tax revenues, sugar, oil, and nickel.”15 SocGen trafficked in Plaintiff’s property by, and on behalf

  of, BNC, processing transactions worth over $15 billion through SocGen’s Cuban credit

  facilities.16

           13.      By engaging in commercial activity with BNC, SocGen received a profit of $1.34

  billion.17 Because Banco Nuñez retains a claim to ten-and-one-half percent of BNC, SocGen’s

  activities constitute “trafficking” in Banco Nuñez’s “property,” as defined by Helms-Burton.18




  or profits from trafficking, without the authorization of the United States National who holds a claim to the property.
  See 22 U.S.C. §§ 6082 and 6023(13).
  13
     See 22 U.S.C. § 6082.
  14
     See Verified Complaint for Forfeiture, U.S. v. $717,200,000 in U.S. Currency, Case No.: 18-cv-10783 (S.D.N.Y.),
  [DE 1, ¶¶ 4, 6], attached hereto as Exhibit 2.
  15
     See Exhibit 2, [DE 1-1, Exhibit C, ¶ 21].
  16
     See Exhibit 2, [DE 1-1, Exhibit C, ¶¶ 22, 23, 25].
  17
     See Exhibit 2, [DE 1-1, Exhibit 1, ¶ 4].
  18
     Moreover, as of December 31, 1959, Banco Nuñez owned shares of BNC with a then current fair value of
  $194,900. See December 31, 1959 balance sheet attached hereto as Exhibit 3. Banco Nuñez has never been
  compensated for that lost asset, and therefore alternatively possesses a direct claim on the equity of BNC.

                                                            4
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 5 of 18




          14.     Plaintiff seeks monetary damages, including treble damages,19 and court costs and

  attorneys’ fees from SocGen for trafficking in the assets of Banco Nuñez in violation of Title III

  of Helms-Burton.

                            PARTIES AND RELEVANT NONPARTIES

          15.     Plaintiff, Sucesores de Don Carlos Nuñez y Doña Pura Galves, Inc., d/b/a Banco

  Nuñez, is a Florida corporation. The Founders owned one-hundred percent of the equity of

  Banco Nuñez as it existed on December 31, 1958. Founder Carlos Nuñez, who was preceded in

  death by his wife, Pura, became a United States citizen before he passed away on October 31,

  1979. In 1996, the Founders’ children and their families created Plaintiff to consolidate, unify

  and hold one-hundred percent of the claim associated with Banco Nuñez—all of which had been

  inherited from Founder Carlos Nuñez.

          16.     The Founders also owned one-hundred percent of the equity of Inmobiliaria

  Norka, S.A., which held the land on which Banco Nuñez built its branches. In 1996, the claim

  associated with Inmobiliaria Norka, S.A., was consolidated and unified into Plaintiff.

          17.     Defendant Société Générale, S.A., is a French multinational investment bank and

  financial services company headquartered in Paris, France. Société Générale, S.A. does business

  in the United States as Société Générale Americas, a Delaware corporation with its headquarters

  at 245 Park Avenue, New York, New York 10167.

          18.     The Republic of Cuba, a nonparty to this case, is a sovereign state comprising the

  island of Cuba, as well as Isla de la Juventud and several minor archipelagos. In May 1959, the

  Cuban Agrarian Reform Law began the process of expropriating property from private

  ownership into the hands of the Cuban Government. Law No. 851 gave Fidel Castro and


  19
    SocGen received Plaintiff’s demand letter, as required by 22 U.S.C. § 6082(a)(3), on June 10, 2019. This
  complaint was filed thirty days thereafter.

                                                      5
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 6 of 18




  Osvaldo Doritcós Torrado the power to decree joint resolutions to nationalize American

  properties in Cuba by compulsory expropriation. Law No. 890 established the Cuban

  nationalization of companies dealing in sugar, spirits, beverages, soap, perfume, milk products,

  chemicals, maritime transportation, railway communications, coffee, and drugs, among other

  industries, irrespective of the owners’ nationality. Law No. 891 declared banking a public

  function, while Law No. 1076 nationalized small retail forms of commerce, also irrespective of

  the former owners’ nationality.

             19.     Banco Nacional de Cuba, a nonparty to this case, is an alter ego of the Republic of

  Cuba.20 On October 14, 1960, Banco Nacional de Cuba nationalized Banco Nuñez without

  paying any compensation to the Founders. Between 2000 and 2014, Banco Nacional de Cuba

  and SocGen conducted business activities, including the maintenance and operation of several

  credit facilities, which generated over $1 billion in profit for SocGen.

                                        JURISDICTION AND VENUE

             20.     Plaintiff is a Florida corporation located at 9700 NW 79th Avenue, Hialeah

  Gardens, Florida 33016. A United States national, Plaintiff has been the victim of confiscation

  by the Cuban Government, and is “endowed with a judicial remedy in the courts of the United

  States that would deny traffickers any profits from economically exploiting Castro’s wrongful

  seizures.”21

             21.     Defendant, Société Générale, S.A., is a multinational bank headquartered at 29

  Blvd. Haussman, 9th Arrondissement, Paris, France. SocGen does business in the United States

  through its wholly owned subsidiary Société Générale Americas, headquartered at 245 Park

  Avenue, New York, New York 10167.


  20
       See Banco Nacional de Cuba, supra n.7.
  21
       22 U.S.C. § 6081(11).

                                                      6
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 7 of 18




             22.          Plaintiff brings a claim for relief pursuant to Helms-Burton, and this Court has

  federal question jurisdiction over this matter in accordance with 28 U.S.C. § 1331.

             23.          Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. § 1391,

  because a substantial part of the events giving rise to Plaintiff’s claim occurred in this

  jurisdiction.

                                           FACTUAL ALLEGATIONS

         I. Plaintiff Owns a Claim Associated with Banco Nuñez.

             24.          Banco Nuñez commenced operations in 1921. Over the next forty years, the

  Founders grew Banco Nuñez into the second largest Cuban-owned bank on the island.22 As of

  December 31, 1958, Banco Nuñez had twenty-two branches, $105.1 million in assets, including

  $51.5 million in loans, and equity of $7.8 million.23

             25.          On December 31, 1958, Banco Nuñez owned branches, and through Norka, the

  land, located at:

                      i.     Mercaderes No 260, Havana (Banco Nuñez’s headquarters);

                     ii.     Aguiar y Obrapia, Havana;

                    iii.     Maximo Gomez No 816, Havana;

                    iv.      10 do Octubre No 958, Havana;

                     v.      Terminal de Autobuses, Havana;

                    vi.      Calle 26 y 45, Havana;

                   vii.      5ta. Avenida y Avda. 112, Havana;

                   viii.     Maceo No 853, Provincia de la Havana;

                    ix.      Cisneros No 224, Camagüey;


  22
       See Exhibit 1.
  23
       Id.

                                                          7
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 8 of 18




                 x.    Independencia No 152, Camagüey;

                xi.    Florida, Camagüey;

               xii.    Cespedes No 94, Matanzas;

               xiii.   Independencia No 50, Matanzas;

               xiv.    Maceo y Aguilera, Oriente;

                xv.    Jose A. Saco No 170, Oriente;

               xvi.    Vicente Garci Aguilera No 102, Oriente;

            xvii.      Bayamo, Oriente;

            xviii.     Gibra, Oriente;

               xix.    Manzanillo, Oriente;

                xx.    Guantanamo, Oriente;

               xxi.    Palma Soriano, Santiago; and

            xxii.      P. Vidal No 1, Las Villas.

         26.        After fleeing Cuba in 1960, Founder Carlos Nuñez died in the United States on

  October 31, 1979. In conformance with his last will and testament, dated September 28, 1974,

  Founder Carlos Nuñez’s one-hundred percent claim to the equity and assets of Banco Nuñez

  (and by extension, his claim to the equity of BNC) passed in eight equal shares to his children, or

  per stirpes to the families of Mr. Nuñez’s three children who had preceded him in death.

         27.        In 1996, the individuals who had inherited claims to Banco Nuñez formed

  Plaintiff to hold and preserve a unified claim.

         28.        The individuals who transferred their interests in Banco Nuñez to Plaintiff were:

                  i.    Nestor Nuñez Galvez;

                 ii.   Blanco Nuñez Galvez;



                                                     8
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 9 of 18




                    iii.     Dagmar Hidalgo Nuñez;

                    iv.      Gloria Torralbas Nuñez;

                     v.      Tomas Torralbas Nuñez;

                    vi.      Pura America Ochoa Nuñez;

                   vii.      Elsa Ochoa Molina;

                   viii.     Norka Cabanas Nuñez;

                    ix.      Carlos Cabanas Nuñez;

                     x.      Silvia Nuñez Tarafa;

                    xi.      Carlos Nuñez Tarafa;

                   xii.      Alejandro Nunez Tarafa;

                   xiii.     Caridad Maria Rivero Caballero; and

                   xiv.      Carlos Arsenio Nuñez Rivero.

             29.          As the holder of one-hundred percent of the equity of Banco Nuñez and Norka,

  and by extension, a claim to ten-and-one-half percent of the equity of BNC, Plaintiff is entitled to

  relief under Title III of Helms-Burton from any entity “trafficking” in its “property.”

             II.          In 1959, the Value of Banco Nuñez Exceeded $50,000.

             30.          On October 14, 1960, Banco Nuñez was worth at least $7.8 million.24

             31.          The Foreign Claim Settlement Commission (“FCSC”) of the United States Cuban

  Claims Program certified a dollar value for analogous claims under the auspices of Title V of the

  International Claims Settlement Act of 1949, 22 U.S.C. § 1643, et seq.

             32.          Employing the FCSC reasoning from CU-1615, because the Founders controlled

  one-hundred percent of Banco Nuñez’s outstanding shares, the value of Plaintiff’s claim can



  24
       See 22 U.S.C. § 6082(b).

                                                         9
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 10 of 18




  simply be calculated as Banco Nuñez’s equity at the time of loss: $7.8 million in 1958.25

          33.      The Founders were not eligible to file claims with the FCSC because they were

  not United States citizens at the time their property was confiscated.26 Nonetheless, the value of

  Plaintiff’s claim is well in excess of Helms-Burton’s $50,000 threshold.

       III. Expropriation of Plaintiff’s Property by the Cuban Government.

          34.      On December 31, 1958, Banco Nuñez operated twenty-two physical locations,

  owned $105 million in assets, including $51.5 million in loans, and had equity of $7.8 million.27

  At the time of confiscation, Banco Nuñez represented roughly ten percent of all banking activity

  conducted on the island, including bank operations controlled by foreign institutions.

          35.      On October 14, 1960, the Cuban Government issued Law 891, immediately

  nationalizing all Cuban-owned banks on the island, including Banco Nuñez, and absorbing them

  into the Cuban Government’s alter ego, BNC. 28

          36.      Between October 14, 1960 and December 31, 1961, the Founders, their children,

  and their children’s families fled Cuba and immigrated to the United States.

          37.      The Castro regime confiscated Banco Nuñez’s property without the Founders’

  consent. Today, the Cuban Government continues to maintain possession of Banco Nuñez’s

  assets, including its physical branches, and continues to conduct banking activity from those

  locations.29


  25
     See analogous certified claim of Elmer E. and Isabel Keller, CU-1615, attached hereto as Exhibit 4 (their shares
  of Industrial Bank could be valued by the bank’s “owners’ equity, or net worth,” divided by the bank’s outstanding
  shares as of December 31, 1959.).
  26
     See 22 U.S.C. § 1643.
  27
     See Exhibit 1.
  28
     Shelton, The Cuban Banking System, supra n.4.
  29
     See current photograph of Mercaderes No 260, Havana, a building that used to be Banco Nuñez’s headquarters,
  attached hereto as Exhibit 5. The building is currently occupied by Banco de Credito y Comercio, a division of
  BNC created on November 12, 1997, to develop “universal functions inherent to commercial banking, both for
  operations in the national territory and abroad.” (citing Banco Central de Cuba, Banco de Credito y Comercio,
  available at: http://www.bc.gob.cu/institucion/bancaria/17 (last visited May 9, 2019)).

                                                          10
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 11 of 18




          38.      Banco Nuñez was entirely absorbed into BNC, and the Cuban Government failed

  to pay the Founders for the equity of Banco Nuñez, either with cash or with equity in BNC.

  Consequently, Plaintiff asserts a claim for ten-and-one-half percent of the equity of BNC—an

  amount equivalent to the percentage of the Cuban banking industry controlled by Banco Nuñez

  at the time the entire industry was nationalized by BNC.

          39.      Presently, BNC acts as conduit for the Cuban Government to conduct commercial

  activities with foreign corporations. Those transactions are processed through “credit facilities”

  provided by foreign financial institutions like SocGen.

       IV. Enactment of the Economic Embargo of Cuba and Helms-Burton.

          40.      Since Fidel Castro seized power in Cuba in 1959, the Cuban Government has

  trampled on the fundamental rights of the Cuban people and confiscated the property of millions

  of its own citizen, thousands of United States nationals, and thousands more Cubans who

  claimed asylum in the United States as refugees because of Castro’s persecution.30

          41.      The Cuban Government’s wrongful confiscation or taking of property, and its

  subsequent exploitation of this property at the expense of the right owner, “undermines the

  comity of nations, the free flow of commerce, and economic development.”31 To deter

  trafficking in wrongfully confiscated property, United States nationals who were the victims of

  these confiscations are, through Title III of Helms-Burton, “endowed with a judicial remedy in

  the courts of the United States that would deny traffickers any profits from economically

  exploiting Castro’s wrongful seizures.”32

          42.      Title III of the Helms-Burton Act provides that any person who traffics in

  property which was confiscated by the Cuban Government on or after January 1, 1959, shall be

  30
     See 22 U.S.C. § 6081(3).
  31
     22 U.S.C. § 6081(2).
  32
     22 U.S.C. § 6081(11).

                                                  11
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 12 of 18




  liable to the United States national who owns a claim to that property for monetary damages.33

  “United States national” means any United States citizen or any other legal entity organized

  under the laws of the United States, or of any State.34 A person “traffics” in confiscated property

  if that person knowingly and intentionally: (i) sells, transfers, distributes, dispenses, brokers,

  manages, or otherwise disposes of confiscated property, or purchases, leases, receives, possesses,

  obtains control of, manages, uses or otherwise acquires or holds an interest in confiscated

  property; (ii) engages in a commercial activity using or otherwise benefiting from confiscated

  property; or (iii) causes, directs, participates in, or profits from trafficking, or otherwise engages

  in trafficking.35

          43.      Banco Nuñez was confiscated on October 14, 1960. The Founders’ children and

  their families inherited their interest in Banco Nuñez prior to March 12, 1996. To consolidate

  and preserve a unified claim, all of the Founders’ children and their families transferred their

  claims associated with Banco Nuñez to Plaintiff. Plaintiff owns a claim to ten-and-one-half

  percent of the equity of BNC. Any company that profits from its dealings with BNC “traffics” in

  Plaintiff’s “property.”36

       V. SocGen Trafficked in Plaintiff’s Property.

          44.      From at least 2000 up through and including 2010, SocGen knowingly and

  willfully violated the economic embargo of Cuba,37 specifically the TWEA, 50 U.S.C. §§ 4303,




  33
     See 22 U.S.C. § 6082(a).
  34
     See 22 U.S.C. § 6023(15).
  35
     See 22 U.S.C. § 6023(13).
  36
     See 22 U.S.C. § 6082(a)(1).
  37
     SocGen, “having truthfully admitted to the facts in the Statement of Facts, agrees that it shall not, through its
  attorneys, agents, employees, or others authorized to speak on its behalf, make any statement to any person outside
  of [SocGen], in litigation or otherwise, contradicting the Statement of Facts” or the Deferred Prosecution Agreement
  entered into with the United States Government on November 18, 2018. See Exhibit 2 [DE 1-1, Exhibit 1, at ¶ 17].

                                                          12
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 13 of 18




  4305, and 4315(a), and the CACRs promulgated thereunder, including 31 C.F.R. §§

  515.201(a)(1), (c) and (d).38

           45.      Specifically, SocGen structured, conducted, and concealed transactions between

  Cuban banks, including BNC, other entities controlled by the Cuban Government, and foreign

  corporations.39 These transactions were carried out through a series of “credit facilities” provided

  by SocGen’s Natural Resources and Energy Financing department.40

           46.      Each transaction between BNC and a third party constitutes trafficking in

  Plaintiff’s expropriated property, and through its credit facilities, SocGen engaged in more than

  $10 billion worth of improper transactions.41

           47.      As an example of how SocGen’s credit facility system operated, in 2000, SocGen

  created two linked facilities to finance oil transactions between a Dutch commodities firm and

  Cuba Petóleo Union (a Cuban Government-owned corporation).42 One of those two facilities was

  a $40 million revolving line of credit to finance the Dutch company’s importation of crude oil

  into Cuba, where it was refined by Cuba Petóleo Union and sold to the local Cuban market.43

  The second linked facility was a $40 million revolving line of credit to finance the Dutch

  company’s purchase of receivables owed to Cuba Petóleo Union from the sale of refined

  gasoline.44




  38
     See Exhibit 2, [DE 1, ¶ 4].
  39
     See Exhibit 2, [DE 1-1, Exhibit C, ¶ 12].
  40
     See Id. at ¶¶ 6, 15.
  41
     Id. at ¶ 6.
  42
     See Exhibit 2, [DE 1, Exhibit C, ¶ 22].
  43
     Id.
  44
     Id.

                                                  13
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 14 of 18




           48.      Between 2003 and 2010, SocGen engaged in 1,887 transactions involving the sale

  of crude oil and the subsequent purchase of affiliated receivables.45 The aggregate dollar value of

  those transactions was $14,736,500,000.46

           49.      During this same timeframe, SocGen maintained twenty additional credit facilities

  for the benefit of BNC, the Cuban Government, and foreign corporations doing business in

  Cuba.

           50.      Six of SocGen’s facilities were comprised of loans directly from SocGen to BNC.

  Three of those loans to BNC were secured by Cuban commodities, and the other three were

  repaid by a different Cuban bank using Cuban tax revenues.

           51.      Another SocGen facility involved loans extended directly from SocGen to Cubana

  de Aviación (a Cuban state-owned corporation that operates Cuba’s airlines).47

           52.      Thirteen of SocGen’s credit facilities involved loans to European corporations.

  These facilities allowed the European companies to finance the purchase, production, and/or

  export of Cuban commodities.48

           53.      SocGen went to great lengths to conceal its trafficking (SocGen’s “Concealment

  Practices”). For example, a January 2006 agreement involving a credit facility between SocGen

  and BNC expressly stated that the payments between SocGen and a Russian bank that was a sub-

  participant in the facility should be made through SocGen New York “without including any

  mention or reference to Cuba, any Cuban entity or to the Caribbean, either in the correspondence

  (electronic, paper or fax), the SWIFT messages or the fund transfer SWIFTS.”49 In another




  45
     Id.
  46
     Id.
  47
     Id. at ¶ 23.
  48
     Id. at ¶ 23.
  49
     Id. at ¶ 36 (emphasis removed).

                                                    14
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 15 of 18




  example, in July 2002, SocGen described a proposed credit facility involving a joint venture

  between a French commodities trading company and a Cuban government entity as follows:

          We are going to receive transfer orders in USD in favor of certain suppliers in
          non-Cuban banks. In this case, the USD transfer must not in any case mention the
          name of the ordering party [the joint venture] or its country of origin, Cuba. The
          clearing will indeed be carried out in NY. I have explicitly asked [the joint
          venture] to write on its transfer request the instructions to be included.”50

          54.      At some point in 2010, SocGen made a decision to cease U.S. dollar denominated

  credit facilities in Cuba, and to replace them with Euro-denominated facilities.51 The new Euro-

  denominated facilities were created no later than October 2010. 52

          55.      Upon information and belief, SocGen continues, to this day, to profit from Euro-

  denominated credit facilities and transactions involving BNC.

          56.      For Plaintiff’s losses attributable to the Cuban Government’s expropriation of

  Banco Nuñez, Plaintiff seeks damages from SocGen in accordance with § 6082(a) of Helms-

  Burton.

                TOLLING OR NON-ACCRUAL OF STATUTE OF LIMITATIONS

          57.      Upon information and belief, SocGen presently operates credit facilities,

  denominated in Euros, and continues to profit from commercial activities with BNC.

          58.      Notwithstanding SocGen’s continuing violations of Title III of Helms-Burton,

  between 2000 and 2010, as admitted by SocGen, it knowingly and intentionally profited by

  trafficking in Plaintiff’s confiscated property, while at the same time employing a variety of

  Concealment Practices and to prevent discovery by OFAC and other regulatory agencies.53




  50
     See Exhibit 2, [DE 1, Exhibit, C, at ¶ 15] (emphasis removed).
  51
     Id. at ¶ 33.
  52
     Id. at ¶ 39.
  53
     Id. at ¶ 14.

                                                          15
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 16 of 18




              59.    Plaintiff did not and could not have discovered the facts constituting SocGen’s

  violations of Helms-Burton until the United States’ complaint was made available to the public

  on November 19, 2018.

              60.    SocGen concealed its own wrongdoing, and failed to even report its Cuban-

  derived profits to OFAC, until October 2014.54

              61.    Because Plaintiff could not have reasonably discovered the facts constituting

  Defendant’s violations until November 19, 2018, their claims accrued on that date and all

  applicable statutes of limitations were tolled until that date.

                                                 COUNT I
                           Liability for Trafficking According to Helms-Burton

              Plaintiff re-alleges and incorporates paragraphs 1-61 above as if fully set forth herein and

  further alleges as follows:

              62.    Title III of the Helms-Burton Act provides that any person who traffics in

  property which was confiscated by the Cuban Government on or after January 1, 1959, shall be

  liable to any United States national who owns the claim to such property for monetary damages.

              63.    The Founders owned one-hundred percent of the equity of Banco Nuñez as it

  existed on December 31, 1958. When the Cuban Government expropriated Banco Nuñez on

  October 14, 1960, its fair value was at least $7.8 million.

              64.    Upon Founder Carlos Nunez’s death in 1979, the claim to Banco Nuñez was

  inherited by his family. In 1996, all of the family members who had inherited claims to Banco

  Nuñez formed Plaintiff to unify and hold the claim associated with Banco Nuñez.

              65.    SocGen is trafficking in Plaintiff’s property. Banco Nuñez was entirely absorbed

  into BNC, and the Cuban Government failed to pay the Founders for the equity of Banco Nuñez,


  54
       Id. at ¶41.

                                                       16
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 17 of 18




  either with cash or with equity in BNC. Consequently, Plaintiff maintains a claim to ten-and-one-

  half percent of the equity of BNC—an amount equivalent to the percentage of the Cuban

  banking industry controlled by Banco Nuñez at the time the entire industry was nationalized by

  BNC.

             66.     Between 2000 and 2010, through various credit facilities, SocGen processed

  thousands of transactions and earned hundreds of millions in dollars in fees by conducting

  commercial activities with BNC.

             67.     SocGen generated at least $1.34 billion in profit from “trafficking” – i.e.

  conducting commercial activities with BNC, the successor in interest to Banco Nuñez.

             68.     After years of concealment, SocGen’s trafficking in Banco Nuñez’s expropriated

  property became public knowledge on November 19, 2018.

             69.     Plaintiff seeks to hold SocGen accountable under Title III of Helms-Burton for

  actions that resulted in the United States Department of Justice finding SocGen liable under the

  TWEA and CACR.

             70.     Moreover, Plaintiff seeks to hold SocGen liable under Title III of Helms-Burton

  for continuing to conduct Euro-denominated transactions with BNC through the present day.

             71.     Plaintiff provided a thirty-day notice to SocGen on June 10, 2019, stating

  Plaintiff’s intention to commence this action and demanding that SocGen’s unlawful trafficking

  cease immediately.55 As of the date of this Complaint, SocGen continues its unlawful trafficking

  of Plaintiff’s property.

             Accordingly, Plaintiff respectfully requests that the Court: (1) enter judgment against

  SocGen for monetary damages in accordance with § 6082(a), including treble damages; (2)



  55
       See 22 USC § 6082(a)(3)(B) and 22 USC § 6082(a)(3)(D)(iii).

                                                          17
Case 1:19-cv-22842-DPG Document 1 Entered on FLSD Docket 07/10/2019 Page 18 of 18
